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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

 EMILY EVANS and MELANIE WELCH,

             Plaintiffs,

 vs.
                                                   Case No. 21-cv-10575
 THE CITY OF ANN ARBOR, JAMES
 WORTHINGTON, in his official and                  Hon. Robert H. Cleland
 individual capacities, CRAIG STRONG, in his
 official and individual capacities,               Mag. R. Steven Whalen
 MEADOWLARK BUILDERS LLC,
 DOUGLAS SELBY, KIRK BRANDON,
 DAVE ANDERSON, HARRY RAMSDEN,
 TINA ROPERTI, MICHIGAN QUALITY
 ELECTRIC, DEREK TUCK, DAVID GILES,
 ROB MCCRUM, ARBOR INSULATION,
 MEADOWLARK ENERGY, ROBERT
 PATTERSON, MATTHEW KRICHBAUM,
 in his official and individual capacities,
 PROPERTY MANAGEMENT
 SPECIALISTS, INC., HOWARD AND
 HOWARD ATTORNEYS, PLLC,
 BRANDON J. WILSON, ESQ., JUDGE
 TIMOTHY CONNORS, in his official
 capacity only, and HON. CAROL KUHNKE,
 Chief Judge of the Washtenaw County Circuit
 Court in her official capacity only,

       Defendants, Jointly and Severally,


  DEFENDANTS THE HONORABLE TIMOTHY P. CONNORS AND THE
   HONORABLE CAROL KUHNKE’S REPLY BRIEF IN SUPPORT OF
    THEIR AMENDED MOTION TO DISMISS PLAINTIFFS’ CLAIMS
      AGAINST THEM UNDER FRCP 12(B)(1) AND FRCP 12(B)(6)
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I.    Rooker-Feldman Bars Plaintiffs’ Claims Against the Circuit Court Judges.1

      Plaintiffs’ claims are barred by the Rooker-Feldman doctrine because the

Circuit Court’s decisions are the source of Plaintiffs’ alleged injuries. Despite

Plaintiffs’ attempt to recast these claims as “independent” of the underlying Circuit

Court Judgment, Plaintiffs’ allegations against the Circuit Court in Counts III and

IV are predicated on their disagreement with the Circuit Court’s decisions in the

state court case, and attempt to redress purported injuries those decisions have

caused. This Court lacks jurisdiction to sit in direct review of these claims.

      Plaintiffs’ Response focuses on Count IV – a claim for “Civil Conspiracy

Between the Trial Court, Meadowlark, Selby, Wilson, and Howard & Howard in

Violation of 42 U.S.C. §1983,” in which the only reference to the “Trial Court” is in

the caption and the only actions purportedly underlying this “conspiracy” are

ascribed to other defendants. (ECF No. 1, PageID.65 ¶¶ 140-146.)2 Plaintiffs further


1
  McCormick v. Braverman, 451 F.3d 382, 393 (6th Cir. 2006); Exxon-Mobil Corp.
v. Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005). Plaintiffs improperly filed a
First Amended Complaint (ECF No. 57) on June 18, 2021, without seeking leave to
amend. Plaintiffs’ FAC is untimely and inoperative under Fed. R. Civ. P. 15(a)(1)(B)
because it was filed over twenty-one days after the Circuit Court Judges served their
Motion to Dismiss (ECF No. 28, dated May 17, 2021.) See Rule 15; ECF No. 60,
PageID.6160-61. Regardless, Plaintiffs’ amended claims fail as a matter of law for
the same reasons already set forth in the Circuit Court Judges’ Motion.
2
  Rooker-Feldman bars Count III because this claim alleges purported constitutional
violations stemming from Judge Connors’ decision to proceed with the scheduled
trial despite Evans’ and her counsel’s failure to appear. (ECF No. 28, PageID.1403-
1408.) The Michigan Court of Appeals reviewed and upheld this decision, and the
Michigan Supreme Court denied leave to appeal. (ECF No. 1-1, PageID.573-74;
                                          1
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contend that “[b]ecause the Judgment was obtained by committing fraud on the court

and the subornation of perjury, the Judgment should be declared null and void ab

initio.” (ECF No. 1, PageID.65, ¶144.)

      Plaintiffs argue that because their claims in this lawsuit allege that Defendants

including Judge Connors conspired to commit “fraud on the court,” which in turn

“procured” the Circuit Court Judgment, Plaintiffs are not challenging the Circuit

Court’s decisions themselves but, rather, are lodging an independent claim outside

the scope of Rooker-Feldman. Plaintiffs are incorrect. Simply repackaging a claim

collaterally attacking a state court judgment as “independent” from the judgment is

not enough to survive Rooker-Feldman’s jurisdictional bar.3 In Yee v. Michigan


ECF No. 28-3, PageID.1427.) Thus, Count III improperly invites this Court to
review and reject the Circuit Court’s judgment. Plaintiffs’ claim that the Circuit
Court Judges “ignored” their “independent fraud” theory or Count IV is incorrect.
The Circuit Court Judges addressed this theory, and Count IV, in their opening brief
(ECF No. 28, PageID.1398, 1400, 1406-07, 1411-12) but focused primarily on
Count III because Count III contains the only specific allegations in the Complaint
against the Circuit Court Judges and Count IV fails to survive even the barest notice
pleading standard under Rule 12 as to Judge Connors. Nevertheless, the gravamen
of Count IV – according to Plaintiffs – is that Selby and Wilson conspired to
“defraud” the Court by proceeding to trial on the contract between Evans and
Meadowlark despite the existence of an administrative Consent Order (the “Consent
Order”) citing Meadowlark’s violations of the Michigan Occupational Code. (ECF
No. 1-1, PageID.447-50.) Selby’s testimony that the Meadowlark contract was
valid, according to Plaintiffs, was therefore “perjury,” which Selby’s attorney
Wilson “suborned.” (See ECF No. 40, PageID.1802-07.) Plaintiffs fail to explain
how Judge Connors could have participated in a conspiracy to defraud himself (i.e.,
the “trial court” referenced in the caption).
3
  McCormick, supra, does not support Plaintiff’s claims against the Circuit Court
Judges. First, McCormick did not hold that the plaintiffs’ claims against the
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Supreme Ct., No. 06-CV-15142-DT, 2007 WL 200952, at *1 (E.D. Mich. Jan. 23,

2007), for example, the plaintiff brought a federal lawsuit against many defendants,

including judges and attorneys involved in his unsuccessful state court lawsuit. The

plaintiff’s state court claims were dismissed at the trial court, that decision was

affirmed by the Court of Appeals, and the Michigan Supreme Court denied leave to

appeal. Yee, 2007 WL 200952, at *1. The federal court held that the plaintiff’s

claims that the attorney defendants “conspired with [the circuit court judge] to make



Michigan Supreme Court Justices survived Rooker-Feldman analysis; those claims
failed under 12(b)(6) for failure to allege any action on the part of the Justices (a
holding which would apply equally to Plaintiffs’ Count IV against Judge Connors
here). 451 F.3d at 398. Regardless, the central holding of McCormick is that
Rooker-Feldman bars federal claims alleging injuries caused by state court
decisions. Id. at 393-95. All of Plaintiffs’ claims against Judge Connors allege
wrongdoing in his official capacity during the Circuit Court proceedings; nowhere
do Plaintiffs suggest that their claims against Judge Connors stem from any extra-
judicial conduct. Thus, even assuming Plaintiffs had alleged a cognizable claim for
“conspiracy to commit fraud on the Court” against Judge Connors (which they have
not), Judge Connors’ purportedly improper conduct was his decision to permit
Selby’s allegedly “perjured” testimony to taint the state court trial. At most, this
would be a claim of intrinsic fraud against the Circuit Court itself based on action
that occurred within the Circuit Court proceedings. See Sprague v. Buhagiar, 213
Mich. App. 310, 314 (1995)(“intrinsic fraud . . . is a fraud within the cause of action
itself.    An    example       of     intrinsic   fraud     would      be    perjury.”)
In Michigan, a party “may not bring an independent action to seek relief from a
judgment induced by intrinsic fraud because MCR 2.612(C), which is nearly
identical to Fed. R. Civ. P. 60(b), provides an effective avenue for vitiating such
fraud.” Bachi-Reffitt v. Reffitt, No. 1:17-CV-263, 2017 WL 5998112, at *6 (W.D.
Mich. Dec. 4, 2017). Plaintiffs may not avoid this rule “simply by adorning intrinsic
fraud allegations in the garb of a [federal] claim and seeking relief in federal court.”
Reffitt, 2017 WL 5998112, at *6.


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her rulings thereby depriving [the plaintiff] of his due process, equal protection, and

property rights” were barred by Rooker-Feldman:

      It is only where the plaintiff’s complaint stands independent of the state
      court judgment that Rooker-Feldman will not apply. . . merely phrasing
      a complaint as seeking redress for an injury caused by the defendants’
      actions (as opposed to injury caused by a state court decision) is not
      enough.

Id. at *5 (emphasis added)(internal citations omitted). The federal court held that it

lacked jurisdiction under Rooker-Feldman because adjudicating the plaintiff’s

claims “necessarily would require this Court to review [the state court judge’s]

various decisions and find that she wrongly decided [the plaintiff’s case].” Id.

Likewise, here, a ruling that Judge Connors “conspired” with other defendants to

commit a fraud on the Court by proceeding to trial on a purportedly void construction

contract – as Plaintiffs claim – would require this Court to review Judge Connors’

and the Court of Appeals’ decisions regarding the underlying construction contract

and the relevance, if any, of the Consent Order to the contract’s enforcement. It

would also invite this Court to invalidate the Circuit Court’s rulings – i.e., to declare

that the Judgment is void “ab initio.” Under Rooker-Feldman, the Court may not do

this. Yee, 2007 WL 200952, at *1.

      Courts in this circuit have similarly dismissed purportedly “independent”

federal constitutional claims brought by state-court losers where – as here – the

plaintiff claims that the federal claim survives Rooker-Feldman based on allegations


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that the state court’s decisions were obtained by a fraud on the court. In Iannucci v.

State of Michigan, No. 16-CV-10255, 2016 WL 4089215, at *1–5 (E.D. Mich. Aug.

2, 2016), the plaintiff sought relief from orders entered in his state court proceedings,

arguing that “the Rooker-Feldman doctrine does not apply because he has alleged

that the state-court judgments were obtained by fraud and that his alleged injuries

were caused by the Defendants’ misconduct, not by the judgments themselves.” The

plaintiff relied on In re Sun Valley Foods Co., 801 F.2d 186, 189 (6th Cir. 1985), in

which the Sixth Circuit cited an exception to Rooker-Feldman under which a federal

court “may entertain a collateral attack on a state court judgment which is alleged to

have been procured through fraud.” Nonetheless, this Court still held that the

plaintiff’s claims were barred by Rooker-Feldman: “[s]imply put, under the most

recent on-point holdings of the Supreme Court and Sixth Circuit, a plaintiff may not

avoid application of the Rooker-Feldman doctrine merely by alleging that the state-

court judgment under attack was procured by fraud.” Iannucci, 2016 WL 4089215,

at *4 (emphasis added).4 Plaintiffs cannot escape dismissal under Rooker-Feldman


4
  The Court noted that “there is reason to question the continuing validity” of the Sun
Valley fraud exception after the Supreme Court clarified the scope of Rooker-
Feldman in Exxon, supra, and the Sixth Circuit “ma[de] clear that the sole inquiry .
. . is the source of the injury plaintiff alleges in the federal complaint.” Iannucci,
2016 WL 4089215, at *4. Thus, “if the source of the injury is the state court
decision,” then Rooker-Feldman prevents jurisdiction, and [w]hether a state-court
judgment was improperly obtained is no longer a factor.” Id. (citations omitted).
“Permitting a plaintiff to avoid the Rooker-Feldman doctrine by alleging that the
judgment under attack was obtained through fraud would – in contravention of the
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simply by sprinkling the terms “conspiracy” and “fraud” throughout their

Complaint.5

II.   Collateral Estoppel Bars Plaintiffs’ Claims Against the Circuit Court Judges.

      Plaintiffs’ allegations against the Circuit Court Judges are barred by collateral

estoppel because facts essential to these claims were litigated to final judgment, and

because Plaintiffs had a full and fair opportunity to litigate these claims below.6 That

is true whether Plaintiffs characterize their claims against the Circuit Court Judges

as arising from Judge Connors’ decision to proceed with the scheduled trial (in

Count III) or from Judge Connors’ supposed conspiracy to commit “fraud on the

Court” by allowing Meadowlark to advance claims for breach of contract in the face

a Consent Order that purportedly “voids” the contract. (Count IV).7 As discussed in

Howard & Howard and Wilson’s Motion to Dismiss, Plaintiffs raised the Consent



more recent Rooker-Feldman precedent . . . allow a plaintiff to pursue a claim in
federal court even if the claim sought to redress an injury caused by a state-court
judgment.” Id.
5
  See also Chaplin v. Anderson, No. 18-12108, 2019 WL 1219412, at *4–5 (E.D.
Mich. Mar. 15, 2019)(claims against state court judge barred under Rooker-Feldman
despite alleged “fraud” exception; “Plaintiff cannot save his claims by trying to
frame them as a procedural challenge.”); Belock v. Burt, 19 Fed.Appx. 323, 325 (6th
Cir. 2001) (Rooker-Feldman barred claim that state-court order was procured
through fraud where “gist” of suit was plaintiff’s unhappiness with state court
result).
6
  Monat v. State Farm Ins. Co., 469 Mich. 679, 845-46 (2004). Plaintiffs concede
that mutuality of estoppel is not required. (ECF No. 60, PageID. 1820.)
7
   See ECF No. 28, PageID.1409-12; Court of Appeals Op., ECF No. 1-1,
PageID.572-75.)
                                           6
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Order issue numerous times before the Circuit Court and the Court of Appeals. (ECF

No. 34, PageID.1476-77; 1487-91). The relevance of the Consent Order to

Meadowlark’s breach of contract claims was the subject of a motion in limine that

Judge Connors granted; the Court of Appeals affirmed that decision; and the

Supreme Court denied leave to appeal.8 Plaintiffs had every opportunity in state

court to raise questions of fact that are central to their claims here. They repeatedly

raised these issues, and the state courts still issued valid final judgments rejecting

Plaintiffs’ claims.9 Counts III and IV should be dismissed with prejudice.10

                                 Respectfully submitted,
                                 MILLER, CANFIELD, PADDOCK AND
                                 STONE, P.L.C.

                                 By: /s/ Caroline B. Giordano
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8
   See ECF No. 34-2, PageID.1510-11; ECF No. 34-3, PageID.1562; ECF No. 1-1,
PageID.573-74; ECF No. 28-4.
9
   See McCormick, 451 F.3d at 398 (all plaintiffs’ claims that were not barred by
Rooker-Feldman were barred by collateral estoppel where “factual predicate” of
claims was litigated and finally determined in state court proceedings).
10
    In consideration of the page limit set forth in E.D. Mich. L.R. 7.1(d)(3)(B), the
Circuit Court Judges rely on their argument that Plaintiffs lack standing as set forth
in their Motion to Dismiss. (ECF No. 28, PageID.1398-1403).

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                           CERTIFICATE OF SERVICE

         I hereby certify that on June 21, 2021, I electronically filed the foregoing

papers with the Clerk of the Court using the ECF system which will send notification

of such filing to all ECF filers of record.

                                  By: /s/ Caroline B. Giordano
                                         Caroline B. Giordano (P76658)



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